                IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                  Civil Action No.: 1:21-cv-00814-CCE-LRW

LARISSA HARPER HAIRGROVE,                )
                                         )
       Plaintiff,                        )
                                         )
                    v.                   )
                                         )    JOINT RULE 26(f) REPORT
CITY OF SALISBURY, DOWNTOWN )
SALISBURY INC., and LANE BAILEY, )
in his individual and official capacity, )
                                         )
      Defendant.                         )
                                         )


1.   Pursuant to Fed. R. Civ. P. 26(f) and LR16.1(b), a meeting was held on

     May 4, 2022, by telephone, and was attended by the undersigned counsel

     for the parties.

2.   Discovery Plan. The parties propose to the Court the following discovery

     plan:

     a. The “commencement date” of discovery will be 30 days after the date

        of the last initial disclosure made pursuant to Rule 26(a)(1) which

        shall be made by the parties within 30 days of the date of the Court’s

        Order following the parties’ Joint 26(f) Report.

     b. Discovery will be needed on the following subjects:

          i.   For Plaintiff, information about the employment practices of


                                      -1-


     Case 1:21-cv-00814-CCE-JLW Document 23 Filed 05/12/22 Page 1 of 4
          Defendants’ along with personnel and time records for all

          employees who were similarly situated to Plaintiff;

    ii.   For Defendant City of Salisbury, the allegations in Plaintiff’s

          complaint and her alleged damages;

   iii.   For Defendant DSI, Plaintiff’s employment history, job duties,

          hours worked and records thereof, compensation and damages.

c. The parties believe that this case should be designated as a standard

  case under LR 26.1(a) with the following stipulated modifications:

d. Discovery should be completed within 6 months from the date of the

   commencement date established in the initial pretrial order. .

   i.     Presumptively, subject to stipulation of the parties or order of

          the Court on good cause shown, interrogatories and requests for

          production of documents (including subparts) and requests for

          admission are limited to 25 in number by each party.

   ii.    Depositions are presumptively limited to four (4) depositions

          (including any experts) by the plaintiffs, by the defendants, and

          by third-party defendants.

   iii.   Reports required by Rule 26(a)(2)(B) (experts required to provide

          reports) and disclosures required by Rule 26(a)(2)(C) (experts not

          required to provide reports) are due during the discovery period:

                   From Plaintiff(s), 75 days from the close of discovery;


                                  -2-


Case 1:21-cv-00814-CCE-JLW Document 23 Filed 05/12/22 Page 2 of 4
                       From Defendant(s), 45 days from the close of discovery;

        iv.   Supplementations will be as provided in Rule 26(e) or as

              otherwise ordered by the court.

3.   Mediation. Mediation should be conducted mid-way to late in the

     discovery period, the exact date to be set by the mediator after

     consultation with the parties. The parties agree that the mediator shall

     be Ken Carlson.

4.   Preliminary Deposition Schedule. The parties will agree to a schedule for

     depositions within 30 days of the Court’s order following the parties’

     submission of their Joint Rule 26(f) Report. The parties will update this

     schedule at reasonable intervals.

5.   Other items.

     a. Plaintiff should be allowed 30 days after the exchange of initial

        disclosures by the parties to request leave to join additional parties or

        amend pleadings.

     b. Defendant(s) should be allowed 15 days after any amendment of

        parties or pleadings to request leave to join additional parties or amend

        pleadings.

     c. After these dates, the Court will consider, inter alia, whether the

        granting of leave would delay trial.




                                      -3-


     Case 1:21-cv-00814-CCE-JLW Document 23 Filed 05/12/22 Page 3 of 4
6.   The parties have not come to any agreement regarding special procedures

     for managing this case, including reference of the case to a Magistrate

     Judge on consent of the parties under 28 U.S.C. §§ 636(c), or appointment

     of a master.

7.   Trial of the action is expected to take approximately two days.

8.   A jury trial has been demanded.

Date: May 12th, 2022

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                                       -4-


     Case 1:21-cv-00814-CCE-JLW Document 23 Filed 05/12/22 Page 4 of 4
